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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF DELAWARE


 Anissa Davis,                                      Civil Action No.
                           Plaintiff,


           – against–
                                                    COMPLAINT


 Santander Bank, N.A., and Vital Recovery
 Services, LLC,

                           Defendant(s).



                                        COMPLAINT

       Plaintiff, Anissa Davis (hereinafter “Plaintiff”), by and through her attorneys,

Garibian Law Offices, P.C., by way of Complaint against Defendants, Santander Bank,

N.A. and Vital Recovery Services, LLC, alleges as follows:

                                    INTRODUCTION

      1. This is an action for damages brought by an individual consumer for

         Defendant’s breach of contract, breach of the implied covenant of good faith

         and fair dealing, and violations of the Fair Debt Collection Practices Act, 15

         U.S.C. § 1692, et seq. (hereafter the "FDCPA"). The FDCPA prohibits debt

         collectors from engaging in abusive, deceptive, and unfair collection practices.

                                         PARTIES

      2. Plaintiff, Anissa Davis, is an adult citizen of the state of Illinois, domiciled in

         Chicago, IL.
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     3. Defendant, Santander Bank, N.A. (“Santander”), is a financial institution that is

        regularly engaged in the business of collecting debts in Delaware, with its

        principal place of business located at 824 North Market Street, Suite 100,

        Wilmington, DE 19801.

     4. Defendant, Vital Recovery Services, LLC (“Vital Recovery”), is a for profit

        business entity organized and existing under the law of Georgia that is regularly

        engaged in the business of collecting debts in Delaware, with its principal place

        of business located at 3795 Date Drive Suite 200, Peachtree Corners, GA,

        30092. The principal business purpose of Vital Recovery is the collection of

        debts using the mails and telephone, and Defendant regularly attempts to

        collect debts alleged to be due another.

     5. Vital Recovery is a "debt collector" as defined by 15 U.S.C. § 1692a(6) of the

        FDCPA.

     6. Plaintiff is a "consumer" as defined by 15 U.S.C. § 1692a(3) of the FDCPA.

                              JURISDICTION AND VENUE



     7. This Court has jurisdiction under 28 U.S.C. § 1331. Federal question

        jurisdiction arises pursuant to 15 U.S.C. § 1692.

     8. Venue is proper in Delaware pursuant to 15 U.S.C. § 1391(b)(2), because a

        substantial part of the events and omissions giving rise to Plaintiff’s claims

        occurred in Delaware.

                                FACTUAL ALLEGATIONS

     9. Vital Recovery attempted to collect a debt allegedly owed by Plaintiff relating

        to consumer purchases allegedly owed to Santander.
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     10. The debt at issue arises out of an alleged transaction which was primarily for

        personal, family or household purposes and falls within the definition of “debt”

        for purposes of 15 U.S.C. § 1692a(5).

     11. On or about February 25, 2016, Plaintiff and Vital Recovery, on behalf of

        Santander, entered into a settlement agreement for Plaintiff’s Santander account

        ending in 71000. A copy of the settlement agreement is attached herein as

        Exhibit A.

     12. Pursuant to the terms of the settlement, Plaintiff was required to make twelve

        (12) payments totaling $6,724.00 to settle and close her Santander account.

     13. Thus, Defendants acknowledged in writing that they had agreed to a settlement

        on Plaintiff’s account, in consideration of the payments which Plaintiff would

        be required to make.

     14. Plaintiff via her debt settlement law firm, the Law Offices of Robert S. Gitmeid

        & Assoc., PLLC (“Gitmeid”), timely made the first two settlement payments.

     15. However, Defendants never withdrew these electronic payments from

        Plaintiff’s trust account. A statement of Plaintiff’s trust account during the

        relevant time period is attached herein as Exhibit B.

     16. Although the funds were made available for Defendants, the payments were

        never withdrawn or processed, and therefore, reversed back into Plaintiff’s trust

        account.

     17. Thereafter, on May 3, 2016, Gitmeid contacted Vital Recovery to resolve the

        payment discrepancy; a Vital Recovery representative named Toya explained

        that the account was recalled by Santander.
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     18. Defendants’ reneging on the settlement agreement with Plaintiff constitutes a

        breach of contract.

     19. Vital Recovery knew or should have known that its actions violated the

        FDCPA. Additionally, Vital Recovery could have taken the steps necessary to

        bring its actions within compliance with the FDCPA, but neglected to do so and

        failed to adequately review its actions to ensure compliance with said laws.

     20. At all times pertinent hereto, Defendants were acting by and through their

        agents, servants and/or employees, who were acting within the scope and

        course of their employment, and under the direct supervision and control of the

        Defendants herein.

     21. At all times pertinent hereto, the conduct of Defendants, as well as that of their

        agents, servants and/or employees, was malicious, intentional, willful, reckless,

        negligent and in wanton disregard for federal law and the rights of the Plaintiff

        herein.

                                       COUNT I
                                  (Breach of Contract)

     22. Plaintiff reasserts and incorporates herein by reference all facts and allegations

        set forth above.

     23. Defendants acknowledged in writing that they had agreed to a settlement with

        Plaintiff, in consideration of the settlement payments, which Plaintiff would be

        required to make.

     24. The settlement agreement constituted a contract.

     25. Plaintiff timely made the first two requisite payments, in accordance with the

        agreement.
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     26. Although the funds were made available for Defendants, the payments were

        never withdrawn or processed, and therefore, reversed back into Plaintiff’s trust

        account.

     27. Defendants’ reneging on the settlement agreement with Plaintiff constitutes a

        breach of contract.

     28. As a result, Plaintiff has suffered actual and monetary damages.



                                   COUNT II
            (Breach of Implied Covenant of Good Faith and Fair Dealing)

     29. Plaintiff reasserts and incorporates herein by reference all facts and allegations

        set forth above.

     30. Defendants owed Plaintiff an implied duty of good faith and fair dealing with

        respect to the settlement agreement with Plaintiff.

     31. By way of the foregoing conduct, Defendants breached the implied covenant of

        good faith and fair dealing that they owed to Plaintiff with respect to the

        settlement agreement.

     32. Defendants have acted unreasonably and in bad faith and deprived Plaintiff of

        the benefit of the bargain of the settlement agreement by refusing to perform its

        obligations under the settlement agreement.

     33. As a result of Defendants’ breach, Plaintiff has suffered actual and monetary

        damages.
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                                      COUNT III
                           (Fair Debt Collection Practices Act)

     34. Plaintiff reasserts and incorporates herein by reference all facts and allegations

        set forth above.

     35. The   above    contacts    between    Vital     Recovery   and   Plaintiff   were

        "communications" relating to a "debt" as defined by 15 U.S.C. § 1692a(2) and

        1692a(5) of the FDCPA.

     36. FDCPA 15 U.S.C. § 1692e(10) prohibits any false, misleading, or deceptive

        representation or means in connection with the collection of a debt.

     37. FDCPA 15 U.S.C. § 1692e(2)(a) prohibits the false representation of the

        character, amount or legal status of any debt.

     38. FDCPA 15 U.S.C. § 1692f(1) prohibits the use of unfair or unconscionable

        practices to collect a debt, including collection of any amount not authorized by

        the contract or law.

     39. Vital Recovery violated the above provisions of the FDCPA by falsely and

        deceptively inducing Plaintiff to enter into a settlement agreement which it did

        not intend to adhere to and/or intended to breach.

     40. Vital Recovery knew or should have known that its actions violated the

        FDCPA. Additionally, Vital Recovery could have taken the steps necessary to

        bring its actions within compliance with the FDCPA, but neglected to do so and

        failed to adequately review its actions to ensure compliance with said laws.

     41. As a result of the above violations of the FDCPA, Vital Recovery is liable to

        Plaintiff for actual damages, statutory damages, attorney’s fees and costs.
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                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands that judgment in the sum of $12,000.00 be
entered against Defendants as follows:


     (a) That judgment be entered against Defendants for actual and monetary
         damages accrued by Plaintiff as a result of Defendants’ breach of
         contract;

     (b) That judgment be entered against Defendants for actual and monetary
         damages accrued by Plaintiff as a result of Defendants’ breach of the
         implied covenant of good faith and fair dealing;

     (c) That judgment be entered against Vital Recovery for actual damages
         pursuant to 15 U.S.C. § 1692k(a)(1);

     (d) That judgment be entered against Vital Recovery for statutory damages
         pursuant to 15 U.S.C. § 1692k(a)(2)(A);

     (e) That the Court award costs and reasonable attorney's fees pursuant to 15
         U.S.C. § 1692k(a)(3); and

     (f) That the Court grant such other and further relief as may be just and
         proper.


                                   Respectfully Submitted,

                                   GARIBIAN LAW OFFICES, P.C.

                                   /s/ Antranig Garibian, Esquire
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